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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

    UNITED STATES OF AMERICA                      )
                                                  )
                         v.                       )       CRIMINAL NO. 15-cr-10271-WGY
                                                  )
    ALEX LEVIN                                    )


                                   MOTION TO WITHDRAW

       Undersigned counsel respectfully moves the Court to allow him to withdraw as counsel

for Alex Levin.   As grounds for this motion, counsel notes that Attorney Samir Zaganjori has

entered his appearance on behalf of the defendant.

                                                      Respectfully submitted,
                                                      ALEX LEVIN
                                                      By his Attorney,

                                                      /s/ Joshua R. Hanye
                                                      Joshua R. Hanye,
                                                          B.B.O.: 661686
                                                      Assistant Federal Public Defender
                                                      Federal Public Defender Office
                                                      51 Sleeper Street, 5th Floor
                                                      Boston, MA 02210
                                                      Tel: 617-223-8061

                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
on September 29, 2015.

                                                      /s/ Joshua R. Hanye
                                                      Joshua R. Hanye
